  Case 15-13369         Doc 258         Filed 02/07/19 Entered 02/07/19 11:35:37              Desc Main
                                         Document     Page 1 of 11



                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS
                                                 (Eastem Division)


  In re:
                                                              Chaptet 7
  ANDRE BISASOR,                                              No. 15-13369-JNF
                                       Debtor.

                             APPLICATI ON FOR COMPENSATION
                            OF COUNSEL TO CHAPTER 7 TRUSTEE

           Putsuant to sections 326 and 330 of the United States Bankruptcy Code, 11 U.S.C. $        1.01. et seq.,


Rule 2016 of the Fedetal Rules of Bankuptcy Ptocedute and MLBR 201.6-7, Anderson Aquino LLP

("Anderson Aquino"), counsel toJohnJ. Aquino, the Chapter 7 trustee (the "Trustee") of the estate of

Andre Bisasor, the debtor herein (the "Debtor"), hereby submits this application fot compensation

and teimbursement for expenses for services provided as counsel to the Chapter 7        ttustee. In

support of this application, the Trustee respectfully states the following:

                                                   Bacþtound

           1,.     On August   27   ,2075 (the "Petition Date"), the Debtor cornmenced this   case   by filing   a


voluntary petition for relief under Chapter 13 of the Bankmptcy Code, 11 U.S,C.       SS 101 et seq.     (the

"Bankruptcy Code) in the United States Bankruptcy Coutt fot the District of Massachusetts. On

January 6,201.6 (the "Conversion Date"), the Debtor's Chaptet 13 case wâs converted to a case under

Chaptet 7 of the Bankruptcy Code. Thereaftet, the Trustee was appointed Chapter 7 trustee by the

United States Trustee for the Disttict of Massachusetts and the Trustee continues to serve in that

capacity.

           2.     On May 6,201.6, the Trustee filed    a   motion to employ Andetson Aquino   as   his counsel

to assist him in the administration of this case. The motion to employ wâs âpproved by this Court by

Order dated May 9,201.6. A copy of the Order apptoving the employment of ,A.ndetson ,{quino is

attached hereto.



                                                        1
  Case 15-13369              Doc 258           Filed 02/07/19 Entered 02/07/19 11:35:37              Desc Main
                                                Document     Page 2 of 11



                                                     Services Ptovided

         3.       As more patticulady described below, as of the Petition Date, the Debtor was            a   litigant

in three separâte proceedings in federal            as   well as Massachusetts state courts.

A,     Defamation/Cyber Bullying/Discdmination Claims

         The Debtor was the plaintiff rn an actton commenced in Suffolk County Superior Court styled

Andre Bisasor   u SlauenskE' et    al., Crvtl. Action 14-3606C (the 'Suffolk County      Âction"). In the Suffolk

County Action, the Debtor asserted claims against 1.7 rcIated defendants, including Hawatd

University, atising out of actions and conduct that allegedly took place while the Debtor was a student

at the Haward University Extension School. The Debtor alleged numerous violations of his dghts

and othet tort and contract claims, including defamation1, ncral discdmination; harassment; hostile

environment based upon religion; violations of Title IX; retaliation; breaches of implied contract and

implied covenant of good faith and fair dealing;unfatt and deceptive practices in violation of M.G.L.

ch. 934; unjust enrichment; state and federal civil rþhts violations; civil conspiracy; invasion          of

privacy; interfetence with contract and advantageous relations; bullying, cyber bullying, cyber

harassment andf or cybet stalking; and intentional infliction of emotional distress (collectively, the

"Defamation/Discdmination Claims"),

B.   Loss of Consortium Claim

        The Debtor was also the plaintiff in an action commenced in Norfolk County Superior Court

styled Andre Bisasor   u   Rooseueh, eÍ a/.,   Civil Action / 5-0/ t94 (the "Norfolk County Action") in which the

Debtor assetted claims against his wife's former employer, Network Health, Inc., and 19 related

defendants for loss of consortium which tesulted from the alleged unlawful termination of the

Debtor's wife by her employer (the "Loss of Consortium Claim").

C    Landlord Tenant Dispute

        As of the Petition Date, the Debtot and his wife were defendants and counter-claimants in



                                                               2
  Case 15-13369            Doc 258      Filed 02/07/19 Entered 02/07/19 11:35:37                     Desc Main
                                         Document     Page 3 of 11



 several litigation matters involving Gteystar Management Services L.P., as agent             fot RAR2-Jefferson

 (the "Landlord"), the owner of the residential âpartment complex located at Presidents \Way, Dedham,

 Massachusetts (the "Dedham         Property"), As of the Petition Date, the matters were pending in

 multiple judicial depârtments and venues, including the Massachusetts,A.ppeals Court pockets 2015P

 7793,2015P 1194 and2015J 0306); the Massachusetts SuptemeJudicial Court (Docket SJC11942and

Docket SJ-2015-0347); Massachusetts Appellate Division pocket 15 ADMS 60010 and Docket                          15


ADMS 60011); Federal District Court (Bankruptcy Appeal$ (Docket 1:15-cv-13813-LTS and

7:75-cv-1,3964-LTS); Federal District Court       pocket     1:15-cv-1,3656-JGD); Massachusetts Supedot

Coutt Notfolk County (Docket 1582 CV0019); and Dedham Disttict Coutt (Dockets #1554-SU-0026

& #1554-SU-0028)         (collectively, the Landlord-Tenant    Mattets). The Landlord         asserted claims

against the Debtor and his non-debtor spouse for alleged non-payment of rent of leased premises at

the Dedham   Propetty, In tesponse, the Debtor and his wife           asserted afflrmattve defenses as well as

counter-claims against the Landlord for numerous alleged violations, including, without limitation,

claims for retaliation, breach of contract, breach of watnnLy of habitability, intentional infliction           of

emotional disttess, unfair and deceptive business practices, as well as alleged violations of the Fair

Debt Collection Ptactices Act, the Federal Fair Housing,\ct and Amedcans \X/ith Disabilities Act

(collectively, the "Landlord-Tenant Matters"),

        4.   Counsel assisted the Trustee in evaluating the likelihood of success of the fotegoing

claims. The actions, all of which were filed pro      se,   were fact-intensive and extensively detailed. By

way of example, the complaint in the Suffolk County State Court Action consisted of 366 paragraphs

covering 31 single spaced pages. Following a thorough review, Counsel determined that the

Defamation/Discrimination Claims and the Loss of Consortium Claims were of inconsequential value

to the estate. As   a   tesult, Counsel assisted the Ttustee by dtafting   Notices oflnfenî   loAbandon the clatms

assetted in the Suffolk County Action and the      Norfolk County Action, which were filed with the Coutt



                                                       3
    Case 15-13369          Doc 258        Filed 02/07/19 Entered 02/07/19 11:35:37                      Desc Main
                                           Document     Page 4 of 11



on November9,2076 and March 2,201,7, respectively.

          5.        !Øith tespect to the Landlord-Tenant Matters, the Debtor, his non-debtot spouse, and

the Landlord engaged in setdement discussions prior to the appointment of the                 Ttustee. Subsequent

to his appointment, the Trustee entered into negotiations with the Landlord with respect only to the

estate's intetest   in the Debtor's claims against the Landlord and the Landlord's claims              as against the


Debtorl,       As a result of the aforesaid negotiations, the Trustee and Landlord entered into             a


settlement agreement, subject to approval of the           Court. Under the tetms of the agreement, the

Landlord agteed to make a payment to the estate in the amount of $20,000 in full and îtnal settlement

of all matters adsing out the Debtor's tenancy ât the Dedham Property, including any claims the

Landlord may have had for back          rent.    Counsel memorialized the terms of the compromise by

drafting an Agreenent Of Sefîlenent And Re/ease. Following execution by the patties, Counsel drafted                    a


MotionForEntry Of OrderApprouingAgreementOf Seftlenent (the "Motion To Approve"), which was filed

with the Bankruptcy Court onJuly 27,201,7. No objections to the Motion To A.pprove were teceived

by the Trustee or filed prior to the deadline established by the          Court. Accordingly,        the Coutt entered

an Order approving the settlement on August 29,2077               .   Thereafter, the Landlord deliveted the

$20,000 setdement payment to the Ttustee.

          6.        In addition to the foregoing, Anderson Aquino monitored a ptogressively contentious

fee dispute between the      Debtor and his former counsel. The mattet began with              a   filing by the Debtot

of a notice of intent to object to his formeÍ counsel's fee application, followed by seven motions to

extend the deadline for filing such      objection. In response, the debtot's fotmet attorney filed a motion

to extend the deadline for discharge objections, and subsequently coÍünenced an advetsary

proceeding in which he sought a determination by the Court that his fees for services rendeted in the

Chapter 13 case were non-dischargeable. Anderson Aquino filed multiple pleadings on behalf of the


1   Upon information and belief, the Debtor's spouse and the Landlord entered into a separate agreement relating to the
claims between them.


                                                           4
 Case 15-13369        Doc 258       Filed 02/07/19 Entered 02/07/19 11:35:37                      Desc Main
                                     Document     Page 5 of 11



Trustee for the purpose of clarifying the scope/priodty of the estate's responsibiJity for payment of

services rendered by the former counsel during the pendency of the Chapter 13              case, In addition,

Anderson Aquino performed the tasks typically required of general counsel in similady-sized Chapter

7 asset cases, including preparation and fi-ling of application to employ counsel.

        7.      In performing its duties on behalf of the Trustee and the Debtor's estate, Anderson

Aquino expended 29.60 hours of time, for which it seeks compensation in the âmount of $10,269.00.

Anderson Aquino has not received any portion of its fees since the commencement of this case. In

accordance   with MLBR     2076-1., a detailed itemizatton and summary          of the services provided by

.,\nderson Aquino to the Trustee is attached   heteto. Also attached is a bibliography of          each Person

who ptovided services to the Trustee.

        8.      Based upon the foregoing, Anderson Aquino submits that the fees tequested herein

âre reâsonable compensation for the services provided to the Debtor's             estâte. No compensation has

been or will be sought for services âs an attorney which is properþ üustee sewices. Anderson

Aquino has not received any portion of its fees since the commencement of this case. No agreement

or understanding exists between Anderson Aquino and any other petson for shadng of the

compensation received ot to be received in this case,

        WHEREFORE, Anderson,\quino requests that this application be approved by the Coutt

and that it be granted an allowance of $10,269.00 as compensation for services tendeted herein.




                                                ANDERSON AQUINO LLP


                                                JohnJ. Aquino, Esq, (880#563260)
                                                Anderson Aquino LLP
                                                240 Lewts \)Vharf
                                                Boston, MA 02110
                                                (617) 723-3600
                                                üa(ò.andcrsona q uin   o,   c   orn
Date:   January 28,201.9


                                                   5
            Case 15-13369             Doc 258
                                  Filed 02/07/19 Entered 02/07/19 11:35:37 Desc Main
                                   Document      Page 6 of 11
             Case 15-13369 Doc 185 Filed 05/09/1-6 Entered 05/09/16 70:26:24 Desc Main
                                     Document Page 1, of 1,

                                             UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MASSACHUSBTTS
                                                           (Eastern Division)


            In   re:
                                                                        ChapterT
   .{       ANDRE BISASOR,                                              No. 15-13369-JNF

lid)                                             Debtor
c(ü
o)                          APPLICATION OF CHAPTER                7   TRUSTEE TO EMPLOY COUNSEL
c
o
d       TO THE HONORABLE HONORABLEJOAN N, FEENEY,
.9
-o-     UNITED STATES BANKRUPTCY JUDGE
o-
(o
Êt                     JohnJ. Aquino, the duly appointed Chapter 7 trustee (the "Trustee") of the estate of Andre
o
(\¡
o)      Bisasor, the debtor herein (the "Debtor"), hereby submits this application               fot authority to retain the
o
a
o
        law fìrm of Anderson Aquino LLP             as counsel   to the Trustee, In support of this Application, the

        Trustee respectfully represerìts as follows:

                       1,      On Aug 27,201,5 (the "Petition Date"), the Debtor filed      a   voluntary petition for ¡elief

        under Chapter 13 of the United States Bankruptcy Code,              1i U.S.C $707   et seq,   (the "Bankruptcy

        Code").        ,    OnJanuary 6,2076, the Court entered an Order converting the Debtor's Chapter 13 case to

            case   under Chapter 7 of the Bankruptcy Code. Theteafter, the Trustee was appointed Chapter 7
        ^
        Trustee by the United States Trustee for the District of Massachusetts ând continues to serve in that

        capaciq,.

                       2.      The Trustee hereby applies for authority to employ the law firm of Anderson Aquino

        LLP      as his attorneys    under ageneral retainer for services to be rendered regarding the following:

                                       (^)     To assist, advise and represent the Trustee in the
                                       administration of this case;

                                       þ)      To assist, advise and represent the Trustee in any
                                       investigation of the acts, conduct, assets, liabilities and fìnancial condition of the
                                       Debtor, and to direct the activities of accountants and other professionals that
                                       ate employed by the Trustee;
             Case 15-13369        Doc 258        Filed 02/07/19 Entered 02/07/19 11:35:37            Desc Main
                                                  Document     Page 7 of 11
                                                      fn re: Andre Bisasor
                                            Chapter 7 Case No. 15-13369-JNF
                       Itemized List of Services Rendered By Counsel To Chapter 7 Trustee




                                                      Itemized List of Services

                                                                                                   Rate   Hours
05/06/2016   JJA   draft application to employ Anderson Aquino as counsel; draft
                   affidavit of disinterested ness; d raft declaration regard in g electron ic
                   filing; draft certificate of service and attention to filing of motion and
                   exhibits                                                                      300.00 0.50      150.00

             JJA review 17 count, 366 paragraph, 62 page single spaced complaint
                   filed by debtor against Harvard University and others for
                   defamation, bullying, cyber bullying, and harassment; interference
                   with business relationships, intentional infliction of emotional
                   distress;, assertions of protected class based upon race and
                   religion,                                                                     300.00    1.50   450.00

05t08t2016   DFF   communications w/JJA re attorney lien statute; assemble
                   documents; review landlord pleadings; review D. Baker fee app and
                   timesheets                                                                    375.00    0.50   187.50

0510912016   DFF   conference w/JJA re D. Baker assertion of attorney lien; review
                   background of case                                                            375.00    0.50   187.50

             DFF   drafUfile objection to D. Baker assertion of attorney's lien (.6);
                   confer JJA re same (.2); make revisions per JJA comments (.3)                 375.00    1.10   412.50

08t12t2016   JJA receive and review revised settlement agreement          with Greystar
                   from attorney Lev; communications attorney Lev re increase in
                   settlement, new uneven split b/w debtor and spouse                            300.00    0.40   120.00

09t13t2016   JJA   email attorney Lev to request counterclaim filed by debtor and
                   spouse against Greystar                                                       300.00    0.10    30.00

0912712016   JJA   settlement discussions attorney Lev                                           300.00    0.50   150.00
               Case 15-13369         Doc 258       Filed 02/07/19 Entered 02/07/19 11:35:37          Desc Main
                                                    Document     Page 8 of 11


         ln re: Andre Bisasor                                                                      Page No            2


                                                                                                   Rate      Hours

10t20t2016     JJA receive and review 279 paragraph , 59 page single space answer
                       asserting numerous defenses; also counterclaims for (1) retaliation;
                       (2) violations of Massachusetts Civil Rights Act; (3) discrimination
                       based upon race and disability: 4) Discrimination and harassment
                       based upon disability; (5) breach of warranty of habitability; (6)
                       breach of quiet enjoyment; (7) multiple equitable arguments; (B)
                       violation of security deposit law; (9) violation of sub meter law (10);
                       unjust enrichment; (11) negligence; (12) emotional distress (13)
                       violations of FDCPA; (14) consumer protection violations; (15)
                       breach of contract (16) abuse of process (17) trespass; (18)
                       misrepresentation; (19) violation of Mass civil rights Act; (20) civil
                       conspiracy, (21 ) interference with contractual relations                 300.00       2.OO        600.00

11t09t2016     DFF     conference w/JJA re state court action; review JNF order re report;
                       draft report; file/serve same                                             375.00       1.50        562.50

11t10t2016     DFF     review motion to reconsider; review order re same                         375.00       0.20         75.00

12t22t2016     JJA    telephone call with attorney Ashton re settlement of Greystar
                      matter; discuss separation of agreements b/w debtor and
                      non-debtor spouse; discuss timeline for approvals from multiple
                      parties and delays caused by holiday season, (.4); confer DFF re
                      sa,me (.1)                                                                 300.00       0.50        150.00

01t0612017     JJA    communications debtor (with attorney Lev's consent) regarding his
                      request for abandonment of loss of consortium claim                        300.00       0.'10        30.00

01t1212017     JJA    Lengthy telephone callwith debtor regarding state court case in
                      which debtor and non-debtor spouse are co-plaintiffs; discuss
                      purported settlement reached by debtor for $1.00; with wife
                      receiving remainder of all settlement funds; discuss debtor's
                      request that I abandon his claim so that he may provide a release;
                      explain the debtor his authority versus estate authority; telephone
                      call to attorney Lev to inform him of debtor's actions                     300.00 0.80              240.00

01t13t2017     JJA    Follow up Email exchange with attorney Lev regarding purported
                      settlement the state court action and status of landlord settlement
                      requiring bifurcation between resolution of dispute with estate
                      versus settlement with wife; explain that landlord insists upon
                      sticking with original timeline for proactive conditions                   300.00       0.30         90.00

01t20t2017     JJA    Telephone callwith Dmitry Lev regarding Greystar and consortium
                      claim settlements; receive and Word document from attorney Lev
                      regarding Greystar agreement as requested                                  300.00       0.60        180.00

01t31t2017     DFF    Receive and review draft of landlord agreement; confer JJA
                      regarding need for nearly complete redraft; useful only for essential
                      terms of settlement                                                        375.00       0.50        187.50

0210912017 DFF work on revision to settlement         docs                                       375.00       1.00        375.00
              Case 15-13369         Doc 258       Filed 02/07/19 Entered 02/07/19 11:35:37          Desc Main
                                                   Document     Page 9 of 11


         ln re:Andre Bisasor                                                                     Page No.           3


                                                                                                  Rate      Hours

02t13t2017     DFF    work on revisions to draft settlement agreement                           375.00       1.50        562.50

02t14t2017     DFF    revisions to settlement docs                                              375.00       0.80        300,00

02121t2017     DFF    revise settlement agreement; forward to JJA                               375.00       0.80        300.00

03t02t2017     JJA    review complaint filed in state court re loss of consortium claims;
                      review notes from 341 meeting and schedule B and addendum to
                      same (.3); draft notice of intent to abandon claims against Network
                      health, lnc et al; attention to filing of same; notify debtor's counsel
                      re same and need for him to file certificate of service (.5);
                      telephone con attorney Ashton re filing and stats of Greystar
                      settlement (.1)                                                           300.00       0.90        270.00

03t06t2017     DFF    revise and send draft settlement agreement to Donna Ashton                375.00       0.30        112.50

05t12t2017     DFF    telephone conversation Donna Ashton (awaiting return call re
                      acceptability of revised draft agreement)                                 375.00       0.30        112.50

05t18t2017     DFF    communications w/Donna Ashton re status of settlement
                      documents                                                                 375.00       0.30        112.50

0st26t2017     DFF    redraft language in stipulation at Ashton request; fonvard same to
                      JJA and Donna Ashton                                                      375.00       0.80        300.00

06t05t2017     DFF    communications w/ D. Ashton to check on status of execution by
                      Greystar                                                                  375.00       0.10         37.50

07t1212017     DFF    follow-up with Donna Ashton re revisions to stip and approval
                      motion; discussion of bankruptcy procedure re approval                    375,00       0.80        300.00

07t26t2017     DFF    draft 9019 motion; attention to service list; review docket re service
                      issues                                                                    375.00       3.10       1,162.50

               GD     attention to service of motion to approve stipulation                     120.00       0.40         48.00

07t2712017     DFF    finalize and file compromise pleadings; confs w/JJA re same;
                      com m unications w/Donna Ashton                                           375.00       2.50        937.50

               GD     Service of notice of hearing and response deadline                        120.00       0.30         36,00

07t28t2017     DFF    attention to service of hearing notice                                    375.00       0.40        '150.00


0811812017     DFF    receive/review email from debtor re concerns regarding separate
                      agreements between debtor, wife, landlord, trustee; telephone
                      conversation Donna Ashton to discuss response to Debtor in order
                      to avoid objection to settlement                                          375.00       0.40        150.00

08t24t2017     DFF    communications from Debtor; communications w/D. Ashton re
                      settlement payment status                                                 375.00       0.30        112.50
              Case 15-13369         Doc 258      Filed 02/07/19 Entered 02/07/19 11:35:37                Desc Main
                                                 Document      Page 10 of 11


        ln re: Andre Bisasor                                                                          Page No               4

                                                                                                       Rate     Hours

08t30t2017     DFF    confs w/JJA re settlement update; communications and telephone
                      conversation with D. Ashton re settlement payments                             375.00          0.20        75.00

08t31t2017     DFF    receive/fon¡vard settlement check; conference w/JJA re same                    375.00          0.10        37.50

09t28t2017     DFF    review/respond to email from debtor regarding dismissal of state
                      court actions per stipulation                                                  375.00          0.20        75.00

11t25t2018    DFF     Draft Response of Chapter 7 Trustee To Joint Motion For Approval
                      Of Settlement; fonvard same to JJA for review and comment                      375.00          1.00       375.00

12t01t2018    DFF     Review reply by attorney Baker to response to joint settlement
                      motion; email exchange with JJA re same                                        375.00          0.30       112.s0

12t0412018    DFF     Draff further response to motion to approve settlement between
                      debtor and his counsel following clarification of attorney Baker's
                      position                                                                       375.00          0.50       187.50

              DFF     Foruard draft response to attorney Baker; email exchnage with Mr
                      Baker re same                                                                  375.00          0.20        75.00

01t28t2019    JJA Draft fee application    of counsel to Chapter 7 trustee                           300.00          0.50       150.00
                     Sub-Total                                                                                  29.60        10,269.00

                                                     Summary By Timekeeper
               Timekeeper                                                 Hours               Rate           Total
               JJA (atty)                                                  8.70            $300.00      $2,610.00
               DFF                                                        20.20             375.00       7,575.00
               GDA Atty                                                    0.70             120.00          84.00




                     Balance Due                                                                                            $10,269.00
 Case 15-13369        Doc 258      Filed 02/07/19 Entered 02/07/19 11:35:37             Desc Main
                                   Document      Page 11 of 11




                                            Biogtaphies

John J. Aquino, admitted to bar, 1993, Commonwealth of Massachusetts, United States District
Court for the District of Massachusetts; Stâte of New Yotk. Education: New York University @.A'.,
magna cam /aøde,1989); Columbia Univetsity School of Law [.D.,1992)iHarlan Fiske Stone Scholat;
Member, Columbia Business Law Review. Practice Areas: Insolvency and Cteditots' Rights.

Donald F. Farrell, Jr., admitted to bar 7979, Commonwealth of Massachusetts, United States
District Court for the District of Massachusetts; 1980, Coutt of Appeals for the First Circuit,
Education: College of the Holy Cross (,{.,8., 1976); Suffolk Univetsity School of Law [.D., cam laude,
1979), Editor, Suffolk University Law Review. Practice Areas: Cotporate Reotganization,
Insolvency, and Cteditots' Rights.

LegalAssistant

Georgeanne D'Agrosa. Education: State University of New York (8.S., t977); Pace Univetsity
(ltd.B.Â, 1984).
